 Case 10-51454   Doc 14 Filed 06/29/10 Entered 06/29/10 14:52:19   Page 1 of 1
                   UNITED STATES BANKRUPTCY COURT
                       DISTRICT OF CONNECTICUT
                         BRIDGEPORT DIVISION

IN THE MATTER OF                    ) IN PROCEEDINGS UNDER CHAPTER 13

    Kyle Schappach                  ) CASE NO. 10 51454
    Diana Schappach
          DEBTOR(S)                 ) June 28, 2010

     REQUEST FOR CONFIRMATION HEARING AND MOTION TO DISMISS
        Molly T. Whiton, Chapter 13 Standing Trustee herein,
 respectfully requests that a confirmation hearing be scheduled in
 the above-captioned case, and, in the event that the plan is not
 confirmable, moves for a dismissal of the case.
        In the event the plan is not confirmed, the Trustee
 requests an administrative allowance in the amount of $250.00
 to be paid from any funds held pursuant to Section 1326.

                          /S/ Molly T. Whiton
                          _____________________________________
                          Molly T. Whiton, Chapter 13 Trustee
                          Fed. ID. No. 02214
                          10 Columbus Boulevard, 6th Floor
                          Hartford, CT 06106
                          Tele:(860) 278-9410 Fax:(860) 527-6185
                          mtwhiton@mtwhiton.com

        This is to certify that a copy hereof was mailed, postage
 prepaid, on the above date, to the following:

 Debtor:
 Kyle & Diana Schappach
 86 Possum Drive
 New Fairfield, CT 06812

 The following were served electronically:

 Debtor's Counsel:
 RICHARD J. KILCULLEN, ESQ.
 rkilcullenbk@sbcglobal.net

 U.S. Trustee
 USTPREGION02.NH.ECF@USDOJ.GOV


                          /S/ Molly T. Whiton
                          _____________________________________
                          Molly T. Whiton, Chapter 13 Trustee
                          Fed. ID. No. 02214
                          10 Columbus Blvd., Hartford, CT 06106
                          Tele:(860) 278-9410 Fax:(860)527-6185
                          mtwhiton@mtwhiton.com


 PLEASE SET FOR: 8/5/10
